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                       UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MAINE


UNITED STATES OF AMERICA, )
                          )
             Plaintiff,   )
                          )                   Criminal No.09-138-B-W
         v.               )
                          )
BRANDON PETTENGILL,       )
                          )
             Defendant.   )

          UNOPPOSED MOTION FOR BAIL PENDING APPEAL
                     AND MEMORANDUM


      Defendant Brandon Pettengill moves the Court for an order for release

pending appeal. This motion is properly made in the first instance in the district

court pursuant to Federal Rule of Appellate Procedure 9(b) and 18 U.S.C. §§

3143(c) and 3145(c).

               FACTUAL AND PROCEDURAL STATEMENT

       Brandon Pettengill came before this Court for sentencing on August 24,

2010. The Court imposed a sentence of eighteen months imprisonment.

      Mr. Pettengill filed a notice of appeal on August 25, 2010. Mr. Pettengill is

due to surrender himself on October 22, 2010. He submits this motion for release

pending appeal because the issues to be raised on appeal go to the validity of his
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conviction. If his conviction is reversed, and if he is not granted release pending

appeal, he would have served a sentence based on an invalid conviction.

                                   ARGUMENT

                                         I.

             MR. PETTENGILL’S APPEAL RAISES
             SUBSTANTIAL ISSUES OF LAW THAT ARE
             AFFECTED BY SUPREME COURT DECISIONS
             RENDERED AFTER THE ORDER ENTERED IN
             THIS COURT

      Mr. Pettengill filed a motion to dismiss the Indictment pretrial, which

motion was denied by this Court. He entered a plea of guilty conditioned on his

ability to appeal the denial of his motion to dismiss. He now requests that he be

allowed to remain on bond pending the resolution of his appeal from the denial of

his motion to dismiss.

                     A. Standard for release pending appeal:

      To be entitled to release pending appeal, Defendant must demonstrate four

things:

      1.     Clear and convincing evidence that he is not likely to flee or pose a

danger to the community.

      2.     That the appeal is not solely for the purpose of delay and will raise

substantial questions of law or fact.

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      3.     The questions raised are of the type that would result in reversal,

order for a new trial, or a reduced sentence to a term of imprisonment less than the

total of the time already served plus the expected duration of the appeal process.

See 18 U.S.C. § 3143(b)(1)(A) and (B).

      This Court’s findings regarding these issues, as well as whether this case

presents exceptional circumstances that merit release despite other statutory

presumptions for detention, are highly discretionary, and will only be reversed for

an abuse of that discretion. See United States v. O’Brien, 895 F.2d 810 (1st Cir.

1990).

              B. Issues regarding flight and danger to community:

      With respect to the first issue – clear and convincing evidence that the

defendant is not likely to flee or pose a danger to the community –Mr. Pettengill

has been on state-court ordered probation since October, 2008. See PSR at ¶ 26.

He has been on federal pretrial supervision since December 2, 2009. He has not

violated the terms of his bond or of his state probation. Therefore, due to his

ability to conform his behavior as required by the Court for an extended period of

time, he does not present either a flight risk or a danger to the community.




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                       C. Issues to be presented on appeal:

      The second and third issues are related. An appeal that raises substantial

questions of law or fact that are likely to result in reversal of a conviction could

hardly be said to be filed solely for the purpose of delay. This is such an appeal.

      Mr. Pettengill represents that his appeal presents the same legal issues as

were presented in United States v. Russell Booker, First Cir. No. 09-1810, and

United States v. Michael Wyman, First Cir. No. 09-3202; that the briefs in those

cases were filed on April 12, 2010; and that the Government’s brief in these two

cases is due to be filed September 20, 2010. The briefing was delayed due to

waiting for the Supreme Court’s opinion in Johnson v. United States, 130 S.Ct.

1265 (2010), which at least one court has found affects the interpretation of 18

U.S.C. § 922(g)(9). See United States v. White, 606 F.3d 134 (4th Cir.

2010)(reversing § 922(g)(9) conviction based on assault statute that could be

violated through simple battery).

      Mr. Pettengill will present two issues on appeal:

      1)     Whether 18 U.S.C. §§ 921(a)(33)(A)(ii) and 922(g)(9) apply to prior

             misdemeanor crimes of assault involving domestic partners where the

             prior conviction has been committed in an unintentional manner or

             where the physical contact is de minimus; and

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      2)     Whether, if § 922(g)(9) applies to misdemeanor crimes that have been

             committed through reckless conduct or is de minimus physical

             contact, the statute is unconstitutional as so applied.

             I.     Statutory construction argument:

      Mr. Pettengill’s prior offense was had under the Maine simple assault

statute which can be committed by either intentional or reckless conduct that

“causes bodily injury or offensive physical contact to another person.” 17A

M.R.S.A. § 207. The charging document filed in Mr. Pettengill’s case did not

differentiate between whether he committed the assault intentionally or recklessly,

or with greater than the minimal contact for offensive physical contact. No

transcript of his guilty plea was available.

      As the federal statute is predicated on the prior conviction, a court must

employ a categorical approach to determining whether Mr. Wyman’s prior

misdemeanor conviction qualifies as a predicate offense. See Shepard v. United

States, 544 U.S. 13, 19 (2005)(statutory language requiring a prior conviction is

“language imposing a categorical approach”). In this case, none of the judicial

documents a court can rely on in a categorical approach establish the level of

intent involved in Mr. Pettengill’s prior conviction, or the nature of the offensive

physical contact involved. Therefore, the legal question becomes whether a

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simple assault committed through reckless conduct satisfies the federal definition

of a “misdemeanor crime of domestic violence.” See 18 U.S.C. § 922(g). The

question arises because the definition of a 922(g)(9) predicate requires that the

misdemeanor have, “as an element, the use or attempted use of physical force”

against a domestic partner. 18 U.S.C. § 921(a)(33)(A)(ii).

      The First Circuit construed the “offensive physical contact” portion of the

Maine simple assault statute in United States v. Nason, 269 F.3d 10 (2001),

deciding that the “offensive physical contact” element was sufficient to satisfy the

mode of aggression for federal purposes. See id. at 15. At no point in the opinion

does the Court address the intent issue involved in Congress’s decision to require

that force be “used.” The Tenth Circuit specifically rejected the Nason court’s

analysis in United States v. Hays, 526 F.3d 674 (10th Cir. 2008). In Johnson v.

United States, 130 S.Ct. 1265 (2010), the Court determined that a simply battery

conviction pursuant to Florida law cannot qualify as a “violent felony” for

purposes of the Armed Career Criminal Act. In United States v. White, 606 F.3d

134 (4th Cir. 2010), that court found that the rationale in Johnson applied to §

922(g)(9) and that a conviction for battery against a domestic partner does the

satisfy the federal definition of a misdemeanor crime of domestic violence.




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      Even though Johnson does not directly control the exact issue raised here,

and although Hays and White do not control in the First Circuit, these cases all

support a finding that the statutory issue raised by Mr. Pettengill is an open

question in the First Circuit. A substantial body of law supports his position. It is

an area of law that has seen a lot of movement since the Court’s Order denying the

Motion to Dismiss. This movement has uniformly been in favor of Mr. Pettengill’s

argument that a simple assault committed by offensive physical contact or by

reckless conduct does not qualify as involving the “use of force” necessary to

support prosecution pursuant to 18 U.S.C. § 922(g)(9).

                          D. Exceptional circumstances:

      Because this is not a Mandatory Detention Act case, the Court need not

address whether there exist exceptional circumstances which would merit release

on appeal. See 18 U.S.C. §§ 3143(b)(2), (c)(limiting mandatory detention to

certain cases, and 3145(c)(setting for standard for release for cases in which

detention is otherwise mandated).




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                                   CONCLUSION

      Mr. Pettengill does not present his entire appellate argument in this motion,

but enough of it to establish that the issues raised are, in fact, substantial. They are

narrowly targeted to unintentional misdemeanors, which separate them from those

types of crimes Congress intended to target in creating § 922(g)(9). Because Mr.

Pettengill may have his conviction vacated on appeal, and because he has

established that he can maintain compliance with conditions of release, this Court

is requested to order that Mr. Pettengill be allowed to remain free on bond pending

the resolution of his appeal.

      The Government does not object to the Court granting this motion.

Dated: August 25, 2010
                                        Respectfully submitted

                                        /s/ Virginia G. Villa
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                             UNITED STATES DISTRICT COURT
                                   DISTRICT OF MAINE

                                       Certificate of Service


        I hereby certify that on August 25, 2010, I electronically filed with the Clerk of Court
using the CASE MANAGEMENT/ELECTRONIC CASE FILES system which will send
notification of such filing to the following:

       Nancy Torresen, Assistant U.S. Attorney,

and I hereby certify that on August 25, 2010 I have filed by United States Postal Service, the
documents to the following non-registered participant:

       Brandon Pettengill.



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